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                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

 JANICE KRAUSE,                           §
                                          §
               Plaintiff,                 §
                                          §
 v.                                       §              CASE NO. 4:18-cv-03969
                                          §
 CITY OF HOUSTON,                         §
 HOUSTON AIRPORT SYSTEM                   §
                                          §
              Defendant.                  §

                            NOTICE OF REMOVAL

       NOW COME City of Houston (“Houston”) and Houston Airport System

(“HAS”), collectively “Defendants”, by and through undersigned, give notice of

the removal of these proceedings from the District Court for the 269th Judicial

District, Harris County, Texas and represent as follows in support thereof:

                             PROCEDURAL FACTS

       1.      On or about September 11, 2018, Plaintiff Janice Krause

(“Plaintiff”) commenced an action against Houston and HAS by filing a Petition in

the 269th Judicial District Court of Harris County, Texas, where it was docketed as

Cause No. 2018-62173.       Defendants received service of process on or about

September 27, 2018. Consequently, 30 days have not elapsed since Defendants

received service of process, thus making this removal timely.

       2.      The above-described action brought against Defendants by Plaintiff

is a civil action brought in a state court involving a federal question over which this

Court has original subject matter jurisdiction under the provisions of 28 U.S.C. §


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1331, and it is an action that may be removed to this Court by Defendants herein

pursuant to the provisions of 28 U.S.C. § 1441 and § 1446.

       3.      Plaintiff alleges in her Original Petition that she was discriminated

against because of a claimed disability and that Defendants’ actions constitute

violations of the Americans with Disabilities Act (42 U.S.C. § 12102, et seq.) and

Texas Commission on Human Rights Act (“TCHRA”). Specifically, Plaintiff

alleged that Defendants failed to accommodate her disability and interfered with

her ADA and TCHRA rights

       4.      This Court has original jurisdiction over this action because it

appears from Plaintiff’s pleadings that this is a civil action that arises under the

Americans With Disabilities Act (42 U.S.C. § 12102, et seq.) Plaintiff cites to this

statute and related state states as support for her causes of action and as providing

the basis for the maintenance of her causes of action.

       5.      The facts that Plaintiff asserts state law cause of action does not

frustrate Defendants’ Notice of Removal. The entire action is removable pursuant

to 28 U.S.C. § 1367, “Supplemental Jurisdiction”, which provides in relevant part.

               (a)     Except as [otherwise provided], in any civil action of
                       which the district courts have original jurisdiction,
                       the district courts shall have supplemental
                       jurisdiction over all other claims that are so related to
                       the claims in the action within such original
                       jurisdiction that they form part of the same case or
                       controversy under Article III of the United States
                       Constitution. Such supplemental jurisdiction shall
                       include claims that involve the joinder or
                       intervention of additional parties.




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The state law based allegations in Plaintiff’s complaint are so related to her federal

claims that they form part of the same case, and these same allegations state a cause

within the district court’s “original jurisdiction”.

        6.      This Notice has been filed within thirty (30) days from the date

Defendants received, through service or otherwise, Plaintiff’s Original Petition as

required under 28 U.S.C. Section 1446(b)(1).

        7.      Venue is proper in this district court under 28 U.S.C. Section

1441(a) because the state court where the suit is pending is located in this district.

        8.      Copies of all pleadings, process, orders, and other filings in the state

court action are attached to this notice as required by 28 U.S.C. Sections 1446(a)

and 1447(b) and Local Rule 81 of the United States District Court for the Southern

District of Texas.

        9.      Defendant will promptly file a copy of this Notice and attachments

in the state court. 28 U.S.C. Section 1446(d).

        10.     The filing of this Notice of Removal is not a waiver of any defenses

or affirmative matters available to any Defendant under Rule 12 of the Texas Rules

of Civil Procedure, Rule 12 of the Federal Rules of Civil Procedure, any state

statute, or any federal statute.

        11.     Plaintiff has demanded a trial by jury.

        WHEREFORE, Defendants Houston and HAS respectfully requests the

Court to remove the suit in its entirety pending in the District Court for the 269th

Judicial District of Harris County, Texas to the United States District Court for the

Southern District of Texas, Houston Division.

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                              Respectfully submitted,

                              RONALD C. LEWIS
                              City Attorney

                              DONALD J. FLEMING
                              Senior Assistant City Attorney
                              Chief, Labor Section

                              /s/ Camela J. Sandmann
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                              ATTORNEYS FOR DEFENDANTS
                              CITY OF HOUSTON
                              HOUSTON AIRPORT SYSTEM




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                       CERTIFICATE OF SERVICE

       I certify that on October 22, 2018 a true and correct copy of Defendant’s
NOTICE OF REMOVAL was served on all attorneys of record listed below in
accordance with the applicable Federal Rules of Civil Procedure via regular mail
and certified U.S. mail, return receipt requested.

       Alfonso Kennard, Jr.
       2603 Augusta Drive, Suite 1450
       Houston, TX 77057
       Phone: (713) 742-0900
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                                           /s/ Camela J. Sandmann
                                           Camela J. Sandmann




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